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                 EXHIBIT B-162
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                                     IN THE SUPERIOR COURT OF FULTON COUNTY

                                                          STATE OF GEORGIA


                                                                                    Case No. 2022-EX-000024
                         IN RE: SPECIALPURPOSEGRAND
                         JURY                                                       Judge Robert C.J.McBurney




                                VERIFIEDAPPLICATIONFORPRO HAC VICEADMISSION
                             Pursuant to Georgia Unifonn Superior Court Rule 4.4~I, DavidK.. Kessler (Applkant),

           hereby applyto this Honorable Court for admission to practice in the above--styledcase pro hac vice.

           In support of this application,Applicant states as follows:


                   l.

                                                                       .•
                   2.• •        My business address is:                 .
                                Paul, Weiss, Rifkind, Wharton & Garrison LLP •
                                1285 6th Ave
                                New York, New York 10019
                                USA
                                Phone: 212-373-3614
                                dkessler@paulweiss.com

                                I have been retained to representthe following client(s):

                                Donald Ayer, John Fanner, Stuart Gerson, Tanya Miller, J. Tom Morgan, Sarah Saldafia,
                                William F. Weld, and Shan Wu

                               c/o Brian Kammer
                               241 ELakeDr
                               Decatur, GA 30030
                               678-235-4964
                 ....
               4. ,
               <    •·   •     I am a member in good standingof the followingjurisdictions:
                               Jurisdiction: U.S. Court of Appeals, 2nd Circuit  •
                               Date Admitted: 03/27/2015
                               Still Admitted: Yes
                               Bar/Registration No.: NIA

                              . Jurisdiction:U.S. Court of Appeals, 9th Circuit-
                                Date Admitted: l l /07/2013
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      Still Admitted: Yes
      Bar/Registration No.: NIA

      Jurisdiction: U.S. District Court, Eastern District of New York
      Date Admitted: 11/03/2011                                   '
      Still Admitted: Yes
      Bar/Registration No.: DK5304

      Jurisdiction: U.S. District Court, Southern District of New York
      Date Admitted: 12/14/20f0
      Still Admitted: Yes
      Bar/Registration No.: DK0582

       Jurisdiction: U.S. Court of Appeals, D.C. Circuit
       Date Admitted: 04/15/2010.
      -Still Admitted: Yes
       Bar/Registration No.: 52798

      Jurisdiction: New York, 2nd Department
      Date Admitted: 03/24/2010
      Still Admitted: Yes
      Bar/Regi~tration No.: 4761938

5.    I have never been a member of the State Bar of Georgia.

6.    I have never been denied pro hac vice admission in Georgia.

7.    I have never had pro hac vice admission revoked in Georgia.

8.    I have never been sanctioned or formally disciplined by a court in Georgia.

9.    I have never been .the subject of any formal disciplinary proceedings.

10.   I have never been formally held in contempt, or otherwise sanctioned by a court in a
      written order, for disobedience to its rules or orders.

11.   In the past two years I have not filed for pro hac vice admission in Georgia.

12.   I have reviewed and am familiar with the Georgia Rules of Professional Conduct and all
      court rules relevant to practice before the court in which I am seeking admission.

13.   My local sponsor is:

      Brian S. Kammer
      Bar No. 406322
      241 f, Lake Dr
      Decatur, GA 30030
      678-235-4964

14.   When I file my application I will forward a copy to the State Bar of Georgia along with a
      check or money order made payable to the State Bar-of Georgia in the amount of $275, as
      this is my first application filed for this calendar year.
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      I, David K. Kessler, applicant in the foregoing Verified Application for Pro Hae Vice
Admission, hereby verify the facts contained therein are true and accurate to the best of my
knowledge.




                                                                Odoms
        Applicant Sworn to before me this I <2J day of May, 2023 MS
                                                              TIJAODO
                                                      Not_aryPublic,State of NewYork
                                                       • No. 01006443426
                                                      Qualifiedin NewYorkCounty
                                                   CommissionExpiresNovember7, 2026

                                                Notary Public
                                                My commission expires
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            IN THE SUPERIOR COURT OF FULTON COUNTY

                             STATE OF GEORGIA


  INRE:                                                 Case No. 2022-EX-000024
  SPECIAL PURPOSE GRAND JURY


                         CERTIFICATE OF SERVICE

      This is to certify that I have caused a true and correct copy of the foregoing

document to be served via electronic mail to the following counsel of the parties:


      Jennifer L. Little                     Kieran J. Shanahan
      Jennifer Little Law, LLC               Shanahan Law Group, PLLC
      Jlittle@jllaw.com                      kieran@shanahanlawgroup.com

      Drew Findling                          Fani T. Willis
      Marissa Goldberg                       Will Wooten
      Findling Law Firm                      Office of the District Attorney
      drew@findlinglawfirm.com               Fani.willisda@fultoncountyga.gov
      marissa@findlinglawfirm.com            Will. wooten@fultoncountyga.gov



      This 22nd day of May 2023.


                                                                      Brian Kammer
                                                                Ga. Bar No. 406322
                                                                      241 E Lake Dr
                                                                Decatur, GA 30030
                                                                Tel: (678) 235-4964
                                                          attybkammer@gmail.com
